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Minute Order Form (06/97)
United States District Court, Northern District of Illinois
Name of Assigned Judge William J. Hibbler Sitting Judge if Other
or Magistrate Judge than Assigned Judge
CASE NUMBER 00 C 1678 DATE 5/8/2000
CASE LILA GOLD, et al. vs. PEAPOD, INC., et al.
TITLE
[In the following box (a) indicate the party filing the motion, e.g., plaintiff, defendant, 3rd party plaintiff, and (b) state briefly the
MOTION: nature of the motion being presented.]
DOCKET ENTRY:
(i) O Filed motion of [ use listing in “Motion” box above.]
(2) Oo Brief in support of motion due
(3) O Answer brief to motion due . Reply to answer brief due
{4) Oo Ruling/Hearing on set for at
(5) O Status hearingfheld/continued to] [set for/re-set for] on set for at
(6) QO Pretrial conference[held/continued to] [set for/re-set for] on set for at
(7) 0 Trial{set for/re-set for} on at
(8) O [Bench/Jury trial] [Hearing] held/continued to at
(9) 0 This case is dismissed (with/without] prejudice and without costs[by/agreement/pursuant to]
OOFRCP4{(m) OGeneral Rule 21 OFRCP41(a)(1) OO FRCP41(a)(2).

ao) [Other docket entry] Plaintiffs’ motion for a finding of relatedness of case numbers 00 C 1678, 00

C 1726, 00 C 1899, 00 C 1916, 00 C 2391 and 00 C 2514 is granted. Plaintiffs’ directed to file a

consolidated complaint by 5/30/00. Status hearing to set consolidated scheduling order set for 6/8/00 at

9:15 a.m.
(il) a [For further detail see order (on reverse side offattached to) the original minute order.]

 

 

 

 

 

 

 

 

No notices required, advised in open court.

No notices required,

Notices mailed by judge's staff,
Notified counsel by telephone.

Docketing to mail notices,

Mail AO 450 form.

Copy to judge/magistrate judge,

 

 

JHC

 

    
  

  

number of notices

5790

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LYE

dale mailed notice

 
 
  
   

courtroom hh nr
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Date/time received in
central Clerk’s Office mailing deputy initials

 

 

 

 

 

 
